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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

    PRESIDENT DONALD J. TRUMP, an
    individual, REPRESENTATIVE
    MARIANNETTE MILLER-MEEKS, an
    individual, and FORMER STATE                      Civil Case No. 4:24-cv-449-RGE-WPK
    SENATOR BRADLEY ZAUN, an
    individual,
                                                      DEFENDANTS J. ANN SELZER AND
                        Plaintiffs,                   SELZER & COMPANY’S NOTICE OF
                                                      JOINDER IN DEFENDANTS DES MOINES
         v.                                           REGISTER & TRIBUNE CO. AND
                                                      GANNETT CO., INC.’S MOTION TO
    J. ANN SELZER, SELZER & COMPANY,                  STRIKE
    DES MOINES REGISTER AND TRIBUNE
    COMPANY, and GANNETT CO., INC.,

                        Defendants.



        Defendants J. Ann Selzer and Selzer & Company (collectively, the “Selzer Defendants”)

join in the motion filed by Defendants Des Moines Register & Tribune Co. and Gannett Co., Inc.

(the “Press Defendants”) on June 30, 2025 (Doc. 72), to strike the Notice of Dismissal that

Plaintiffs President Donald J. Trump, Representative Mariannette Miller-Meeks, and Former State

Senator Bradley Zaun attempted to file on June 30, 2025 (Doc. 71).

        As the Press Defendants argue, the Plaintiffs’ Notice of Dismissal is without effect because

this Court does not have the jurisdiction to act on the notice.1 This Court should strike the Notice

of Dismissal.



1
  Even if this Court were to dismiss this action, it will ultimately retain jurisdiction to consider
whether to impose sanctions for presenting pleadings for an improper purpose. Kurkowski v.
Volcker, 819 F.2d 201, 203 (8th Cir. 1987) (affirming order imposing sanctions under Rule 11
following dismissal of the action); see Fed. R. Civ. P. 11(c)(3). Plaintiffs’ multiplying lawsuits are
designed to impose litigation costs for criticism of the President of the United States of America.
Using the legal system to punish speech protected by the First Amendment is a transparently


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Dated: July 1, 2025                               Respectfully Submitted,

                                                  /s/ Robert Corn-Revere
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improper purpose. That motive is all the clearer in light of the timing of the Plaintiffs’ self-help
remand to Iowa state court, filed just hours before Iowa’s anti-SLAPP statute—which would deter
suits like these—became effective.


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                                  CERTIFICATE OF SERVICE
       The undersigned certifies that a true copy of the foregoing document was served upon all

parties of record through the Court’s CM/ECF electronic filing system, with copies sent to the

below-named individuals by electronic mail on July 1, 2025.

                                                          /s/ Robert Corn-Revere

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